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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

                                                            )
In re:                                                      )    Chapter 11
                                                            )
CARBONLITE HOLDINGS LLC, et al.,1                           )    Case No. 21-10527 (JTD)
                                                            )
                                   Debtors.                 )    (Jointly Administered)
                                                            )

     NOTICE OF SUCCESSFUL BIDDER AND AUCTION RESULTS FOR SALE OF
    THE ASSETS OF CARBONLITE INDUSTRIES LLC (THE RIVERSIDE FACILITY)

         PLEASE TAKE NOTICE OF THE FOLLOWING:

         1.      On March 18, 2021, the above-captioned debtors and debtors in possession
(collectively, the “Debtors”) filed a motion [Docket No. 112] (the “Bid Procedures Motion”)
with the United States Bankruptcy Court for the District of Delaware (the “Bankruptcy Court”)
seeking entry of (i) an order (the “Bid Procedures Order”) (a) approving Bid Procedures for the
sale (the “Sale”) of any or substantially all of the Debtors’ assets (collectively, the “Assets”), (b)
approving procedures for the assumption and assignment of designated executory contracts and
unexpired leases (collectively, the “Transferred Contracts”) and the sale and transfer of other
designated contracts, (c) scheduling the Auction and Sale Hearing,2 and (d) granting related
relief (collectively, the “Bid Procedures Relief'”), and (ii) an order(s) (each, a “Sale Order”) (a)
authorizing the Sale(s) of the Assets free and clear of all liens, claims, interests, and other
encumbrances (collectively, “Encumbrances”), other than assumed liabilities, to the Successful
Bidder(s) submitting the highest or otherwise best bid, (b) authorizing the assumption and
assignment of the Transferred Contracts to the Successful Bidder(s) and authorizing the sale and
transfer of other designated contracts, and (c) granting certain related relief.

        2.       On April 9, 2021, the Bankruptcy Court entered the Bid Procedures Order
[Docket No. 266] and, on April 9, 2021, the Debtors filed and served the Notice of Proposed
Sale or Sales of Substantially All of the Debtors' Assets, Free and Clear of All Encumbrances,
Other Than Assumed Liabilities, and Scheduling Final Sale Hearing Related Thereto [Docket
No. 268] (the “Sale Notice”) providing information on the proposed Sale(s), including, without
limitation, for the Riverside Facility.


1
  The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification number, are:
CarbonLite Holdings LLC (8957); CarbonLite Industries LLC (3596); CarbonLite P Holdings, LLC (8957);
CarbonLite P, LLC (5453); CarbonLite PI Holdings, LLC (8957); CarbonLite Pinnpack, LLC (8957); CarbonLite
Recycling Holdings LLC (8957); CarbonLite Recycling LLC (3727); CarbonLite Sub-Holdings, LLC (8957);
Pinnpack P, LLC (8322); and Pinnpack Packaging, LLC (9948). The address of the Debtors’ corporate headquarters
is 10250 Constellation Blvd., Los Angeles, CA 90067.
2
  A capitalized term used but not defined herein shall have the meaning ascribed to it in the Bid Procedures and Bid
Procedures Order, as applicable.

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        3.     The Bid Procedures and the Bid Procedures Order were respectively extended
and/or modified pursuant to the following orders: Order Approving Stipulation Among Debtors,
the Official Committee of Unsecured Creditors and the DIP Lenders, Extending Certain
Deadlines Under the Bid Procedures Order [Docket No. 312], entered by this Court on April 20,
2021; Order Approving Second Stipulation Among Debtors and the DIP Lenders, Extending
Certain Deadlines Under the Bid Procedures Order [Docket No. 357], entered by this Court on
April 27, 2021; and Order Approving Amended Third Stipulation Among Debtors and the DIP
Lenders Extending Certain Deadlines Under (I) TX Debtors’ Final DIP Order; (II) PA Debtors’
Final DIP Order; (III) CA Debtors’ Final DIP Order; and (IV) Bid Procedures Order [Docket
No. 401], entered on May 4, 2021; and Order Authorizing Debtors to Extend, as Necessary,
Certain Deadlines Under the (I) Bid Procedures Order; (II) TX Debtors' Final DIP Order; (III)
PA Debtors' Final DIP Order; and (IV) CA Debtors' Final DIP Order [Docket No. 449], entered
by this Court on May 13, 2021.

       4.     On May 19, 2021, the Debtors filed the Notice of Virtual Auction for Sale of the
Assets of CarbonLite Industries LLC [Docket No. 482] (the “Riverside Auction Notice”).

       5.     On May 21, 2021, the Debtors conducted a virtual Auction (the “Riverside
Auction”) for the Assets of CarbonLite Industries LLC, including the Riverside Facility (the
“Riverside Assets”). Two (2) Qualified Bidders participated in the Riverside Auction.

        6.      At the conclusion of the Riverside Auction, the Debtors declared TSG Shelf II
Acquisition, LLC, as the Successful Bidder for the Riverside Assets (the “Riverside Successful
Bidder”) with the highest or otherwise best Bid of best Bid of $57,500,000.00 plus net working
capital in excess of $0.00.

       7.     A proposed form of Sale Order approving the Sale of the Riverside Assets to the
Riverside Successful Bidder is attached hereto as Exhibit 1 (the “Riverside Sale Order”) and a
copy of the Purchase Agreement entered into by CarbonLite Industries LLC and the Riverside
Successful Bidder is attached hereto as Exhibit 2 (the “Riverside APA”).

       8.     The Debtors will seek approval of the Sale of the Riverside Assets to the
Riverside Successful Bidder at the Sale Hearing (the “Riverside Sale Hearing”) scheduled to
commence on May 26, 2021 at 3:00 p.m. (prevailing Eastern Time) before the Honorable
John T. Dorsey, United States Bankruptcy Judge for the Bankruptcy Court for the District of
Delaware, at 824 North Market Street, 5th Floor, Courtroom No. 5, Wilmington, Delaware
19801. The Riverside Sale Hearing may be adjourned by announcement in open Court or on the
Court’s calendar without any further notice. The deadline to object to the Debtors’ request to
approve the Sale of the Riverside Assets to the Riverside Successful Bidder is May 25, 2021 at
4:00 p.m. (prevailing Eastern Time).3




3
 As set forth in the Riverside Auction Notice, upon the request of the Committee , the Debtors will continue the
Riverside Sale Hearing to June 3, 2021 at 1:00 pm Eastern, and will provide notice of the same on the Court’s
docket.


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        9.      To the extent any Contract Counterparty objects to adequate assurance of future
performance provided by the Riverside Successful Bidder, any such objection must be raised
prior to the close of the Riverside Sale Hearing.

Dated: May 22, 2021                  PACHULSKI STANG ZIEHL & JONES LLP

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                                          Exhibit 1

                                     Riverside Sale Order




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